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                                               L.B.F. 3015.1-1

                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNSYLVANIA

In re:                                            Case No.:
Franklin A. Bennett III
                                                  Chapter:       13

                  Debtor(s)
                                           Chapter 13 Plan

         ✔   ORIGINAL


Date:     01/18/2019

                               THE DEBTOR HAS FILED FOR RELIEF UNDER
                                CHAPTER 13 OF THE BANKRUPTCY CODE

                                      YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-5.
This Plan may be confirmed and become binding, unless a written objection is filed.

                   IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                  MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                               NOTICE OF MEETING OF CREDITORS.

  Part 1: Bankruptcy Rule 3015.1 Disclosures

   ✔ Plan contains non-standard or additional provisions – see Part 9
   ✔ Plan limits the amount of secured claim(s) based on value of collateral
   ✔ Plan avoids a security interest or lien

  Part 2: Payment and Length of Plan


         § 2(a)(1) Initial Plan:
            Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ ______________
                                                                                 1,500.00
             Debtor shall pay the Trustee $ _________
                                            25        per month for ____
                                                                     60 months; and
             Debtor shall pay the Trustee $ _________ per month for ____ months.
            Other changes in the scheduled plan payment are set forth in § 2(d)

       § 2(a)(2) Amended Plan:
           Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ ______________
                                                                                 0.00
       The Plan payments by Debtor shall consists of the total amount previously paid ($_______)
  added to the new monthly Plan payments in the amount of $_________ beginning ____________
  (date) for _____months.
          Other changes in the scheduled plan payments are set forth in § 2(d)
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     § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to
future wages (Describe source, amount and date when funds are available, if known):


    § 2(c) Use of real property to satisfy plan obligations:
            Sale of real property
            See § 7(c) below for detailed description

             Loan modification with respect to mortgage encumbering property:
             See §7(d) below for detailed description

    § 2(d) Other information that may be important relating to the payment and length of Plan:



Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)


    § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full
unless the creditor agrees otherwise:

 Creditor                              Type of Priority                      Estimated Amount to be Paid

West Whiteland Township                507(a)(8) Certain taxes               $ 8,000.00




    § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid
less than full amount.

    ✔   None. If “None” is checked, the rest of § 3(b) need not be completed.

        The allowed priority claims listed below are based on a domestic support obligation that has been
assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


  Name of Creditor                                        Amount of claim to be paid
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Part 4: Secured Claims


      § 4(a) Curing Default and Maintaining Payments
  ✔   None. If “None” is checked, the rest of § 4(a) need not be completed.
      The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor
      shall pay directly to creditor monthly obligations falling due after the bankruptcy filing.

  Creditor             Description of        Regular Monthly       Estimated         Interest Rate    Amount to be
                       Secured               Payment to be         Arrearage         on Arrearage, Paid to
                       Property and          paid directly to                        if applicable(%) Creditor by
                       Address, if real      creditor by                                              the Trustee
                       property              Debtor




      § 4(b) Allowed Secured Claims to be Paid in Full: Based on Proof of Claim or Pre-
Confirmation Determination of the Amount, Extent or Validity of the Claim
        None. If “None” is checked, the rest of § 4(b) need not be completed.
       (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of
payments under the plan.

           (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
determine the amount, extent or validity of the allowed secured claim and the court will make its determination
prior to the confirmation hearing.

        (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

          (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
§ 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
interest rate or amount for “present value” interest in its proof of claim, the court will determine the present value
interest rate and amount at the confirmation hearing.

        (5) Upon completion of the Plan, payments made under this section satisfy the allowed
secured claim and release the corresponding lien.

                          Description of
 Name of Creditor         Secured Property           Allowed            Present     Dollar Amount       Total
                          and Address, if real       Secured            Value       of Present          Amount to
                          property                   Claim              Interest    Value Interest      be paid
                                                                        Rate
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        § 4(c) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
        ✔ None. If “None” is checked, the rest of § 4(c) need not be completed.


       The claims below were either (1) incurred within 910 days before the petition date and secured by a
  purchase money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2)
  incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing
  of value.

         (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion
  of payments under the plan.

           (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
  § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
  interest rate or amount for “present value” interest in its proof of claim, the court will determine the present value
  interest rate and amount at the confirmation hearing.

  Name of Creditor              Collateral          Amount of           Present Value       Estimated total payments
                                                    Claim               Interest

                                                                                  %         $

                                                                                   %        $


        § 4(d) Surrender
        ✔   None. If “None” is checked, the rest of § 4(d) need not be completed.

             (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.

             (2) The automatic stay under 11 U.S.C. § 362(a) with respect to the secured property terminates upon
confirmation
         of the Plan.

             (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

 Creditor                                                       Secured Property




 Part 5: Unsecured Claims

        § 5(a) Specifically Classified Allowed Unsecured Non-Priority Claims
        ✔ None. If “None” is checked, the rest of § 5(a) need not be completed.

                              Basis for Separate
 Creditor                     Classification              Treatment                     Amount of             Amount to
                                                                                        Claim                 be paid
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       § 5(b) All Other Timely Filed, Allowed General Unsecured Claims

            (1) Liquidation Test (check one box)

            ✔ All Debtor(s) property is claimed as exempt.

                     Debtor(s) has non-exempt property valued at $              for purposes of § 1325(a)(4)


             (2) Funding: § 5(b) claims to be paid as follows (check one box):

                    Pro rata
            ✔       100%
                    Other (Describe)


Part 6: Executory Contracts & Unexpired Leases

       ✔   None. If “None” is checked, the rest of § 6 need not be completed.

 Creditor                                Nature of Contract or Lease      Treatment by Debtor Pursuant to §365(b)




Part 7: Other Provisions


       § 7(a) General Principles Applicable to The Plan

       (1) Vesting of Property of the Estate (check one box)
                    Upon confirmation
                ✔


                    Upon discharge

      (2) Unless otherwise ordered by the court, the amount of a creditor’s claim listed in its proof of claim
controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

       (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
1326(a)(1)(B),(C) shall be disbursed to the creditors by the Debtor directly. All other disbursements to
creditors shall be made by the Trustee.

       (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
creditors, or as agreed by the Debtor and the Trustee and approved by the court.
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      § 7(b) Affirmative Duties on Holders of Claims secured by a Security Interest in Debtor’s
Principal Residence

        (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
arrearage.

         (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
obligations as provided for by the terms of the underlying mortgage note.

        (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
purpose of precluding the imposition of late payment charges or other default-related fees and services based on
the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
terms of the mortgage and note.

        (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the
holder of the claims shall resume sending customary monthly statements.

        (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon
books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
book(s) to the Debtor after this case has been filed.

       (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon
books as set forth above.

       § 7(c) Sale of Real Property
       ✔    None. If “None” is checked, the rest of § 7(c) need not be completed.

       (1) Closing for the sale of                                   (the “Real Property”) shall be completed
within       months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise
agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paid in full
under §4(b)(1) of the Plan at the closing (“Closing Date”).

           (2) The Real Property will be marketed for sale in the following manner and on the following terms:




         (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
seeking court approval of the sale of the property free and clear of liens and encumbrances pursuant to 11 U.S.C.
§363(f), either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such approval is necessary or
in order to convey insurable title or is otherwise reasonably necessary under the circumstances to implement this
Plan.

       (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the
Closing Date.

       (5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale
Deadline:




                                                                                          Continuation sheet attached
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       § 7(d) Loan Modification
       ✔   None. If “None” is checked, the rest of § 7(d) need not be completed.

       (1) Debtor shall pursue a loan modification directly with                      or its successor in interest or its
current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.

      (2) During the modification application process, Debtor shall make adequate protection payments directly to
Mortgage Lender in the amount of $            per month, which represents                        (describe
basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
Mortgage Lender.

      (3) If the modification is not approved by                (date), Debtor shall either (A) file an amended Plan to
otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the
automatic stay with regard to the collateral and Debtor will not oppose it.

Part 8: Order of Distribution


The order of distribution of Plan payments will be as follows:

     Level 1:   Trustee Commissions*
     Level 2:   Domestic Support Obligations
     Level 3:   Adequate Protection Payments
     Level 4:   Debtor’s attorney’s fees
     Level 5:   Priority claims, pro rata
     Level 6:   Secured claims, pro rata
     Level 7:   Specially classified unsecured claims
     Level 8:   General unsecured claims
     Level 9:   Untimely filed, allowed general unsecured claims

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
not to exceed ten (10) percent.



Part 9: Non Standard or Additional Plan Provisions

   None. If “None” is checked, the rest of § 9 need not be completed.               Add Non-standard provisions

THIS IS A 100 % PAY PLAN

Creditor, West Whiteland Township shall be paid in full

Creditor, CITIBANK, N.A., AS TRUSTEE FOR THE WACHOVIA LOAN TRUST, 2005-SD1 ASSET-
BACKED CERTIFICATES, SERIES 2005-SD1, C/O WELLS FARGO BANK, N.A., claims a security
interest in 516 Brookview Road, Exton, PA 19341 by way of a claimed mortgage against said property.
Creditors claim is disputed. The mortgage was satisfied and the creditor is not the owner/holder in due
course. Debtor will file a motion to determine secured status and motion to determine value. If the
secured claim is denied, Creditor shall file a satisfaction immediately with the Recorder of Deeds in
Chester County PA within 5 days of the entry of the order. If all or part of the claim is allowed, it shall
be reduced to the value of the land $40,260.00 minus the Homestead Exemption of $23, 675.00
netting Creditor $16,585.00. Creditors Claim will be offset by Debtors Judgment against Creditor of
$360,000.00. Creditor shall file a satisfaction immediately with the Recorder of Deeds in Chester
County PA within 5 days of the entry of the order.
The Bankruptcy Court for the Eastern District is holding $10,238.00 under case number: 16-14281.The
Court shall issue a check to the Trustee assigned for distribution under this plan.

The plan may be paid early at Debtors discretion.

                                                                        Continuation sheet attached
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  Under Bankruptcy Rule 3015(c), nonstandard or additional plan provisions are required to be set forth in Part 9
of the Plan. Such Plan provisions will be effective only if the applicable box in Part 1 of this Plan is checked.
Any nonstandard or additional provisions set out other than in Part 9 of the Plan are VOID. By signing below,
attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan.




                                                            s/ Franklin A. Bennett III
         01/18/2019
Date:
                                                                Attorney for Debtor(s)




        If Debtor(s) are unrepresented, they must sign below.



         1/18/19                                            s/ Franklin A. Bennett III
Date:
                                                            Debtor


Date:
                                                                Joint Debtor




        Reset & clear entire form
